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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                          1
    USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                          Debtor.


             NOTICE OF PROPOSED AGENDA OF MATTERS SCHEDULED
                FOR HEARING ON FEBRUARY 21, 2019 AT 1:30 P.M.

Time and Date of Hearing:                 Thursday, February 21, 2019, at 1:30 p.m. (prevailing
                                          Eastern time).

Location of Hearing:                      Honorable Robyn L. Moberly, U.S. Bankruptcy Judge
                                          Room 329
                                          U.S. Bankruptcy Court for the Southern District of Indiana
                                          46 East Ohio Street
                                          Indianapolis, IN 46204

Copies of Documents:                      Copies of all documents filed in this chapter 11 case may be
                                          accessed      through      the      case      website     at:
                                          https://omnimgt.com/usagymnastics, or by contacting the
                                          Debtor’s attorneys, on PACER, or from the Clerk of the
                                          Court.

Call-In Number For Hearing:               The dial-in telephone number for interested parties to
                                          participate in the hearing by conference call is 1-888-273-
                                          3658, passcode: 9247462#. All callers shall keep their
                                          phones muted unless addressing the Court. All callers must
                                          identify themselves and the party(ies) they represent when
                                          addressing the Court. Callers shall not place their phones on
                                          hold during the hearing.

Estimated Length of Hearing:              1.5 hours.




1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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A.    UNCONTESTED MATTERS

      1.   Removal Period Extension Motion: Debtor’s Motion For Order Extending Period
           Within Which It May Remove State Court Actions Pursuant To 28 U.S.C. § 1452
           And Rule 9027 Of The Federal Rules Of Bankruptcy Procedure [Dkt. 222].

              a. Status: This matter is going forward.

              b. Estimated Time Required: 5 minutes.

      2.   Pierce Atwood Employment Application: Debtor’s Application For Order
           Authorizing The Debtor To Employ Pierce Atwood LLP As Ordinary Course
           Counsel Pursuant To 11 U.S.C. § 327(b), Effective As Of The Petition Date
           [Dkt. 226].

              a. Status: This matter is going forward.

              b. Related Documents:

                 i.     Revised Proposed Order: Notice Of Revised Proposed Order
                        Authorizing Employment Of Pierce Atwood LLP [Dkt. 265].

              c. Estimated Time Required: 5 minutes.

      3.   Zuckerman Spaeder Employment Application: Debtor’s Application For Order
           Authorizing The Debtor To Employ Zuckerman Spaeder LLP As Ordinary Course
           Counsel Pursuant To 11 U.S.C. § 327(b), Effective As Of The Petition Date
           [Dkt. 227].

              a. Status: This matter is going forward.

              b. Related Documents:

                 i.     Revised Proposed Order: Notice Of Revised Proposed Order
                        Authorizing Employment Of Zuckerman Spaeder LLP [Dkt. 266].

              c. Estimated Time Required: 5 minutes.

      4.   Barnes & Thornburg Employment Application: Debtor’s Application For Order
           Authorizing The Debtor To Employ Barnes & Thornburg LLP As Ordinary Course
           Counsel Pursuant To 11 U.S.C. § 327(b), Effective As Of The Petition Date
           [Dkt. 229].

              a. Status: This matter is going forward.

              b. Related Documents:

                 i.     Revised Proposed Order: Notice Of Revised Proposed Order
                        Authorizing Employment Of Barnes & Thornburg LLP [Dkt. 264].


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              c. Estimated Time Required: 5 minutes.

B.    UNCONTESTED CONTINUED MATTERS

      1.   Wage Motion, Supplement, & Withdrawal: First Day Motion For An Order
           (I) Authorizing The Debtor To Pay And Honor Certain Pre-Petition Wages,
           Benefits, And Other Compensation Obligations; And (II) Authorizing Financial
           Institutions To Honor And Process Checks And Transfers Related To Such
           Obligations [Dkt. 11].

              a. Status: This matter is going forward.

              b. Related Documents:

                 i.     First Interim Order: Interim Order Granting First Day Motion
                        For An Order (I) Authorizing The Debtor To Pay And Honor Certain
                        Pre-Petition Wages, Benefits, And Other Compensation
                        Obligations; And (II) Authorizing Financial Institutions To Honor
                        And Process Checks And Transfers Related To Such Obligations
                        [Dkt. 58].

                 ii.    Supplement: Supplement To First Day Motion For An Order
                        (I) Authorizing The Debtor To Pay And Honor Certain Pre-Petition
                        Wages, Benefits, And Other Compensation Obligations; And
                        (II) Authorizing Financial Institutions To Honor And Process
                        Checks And Transfers Related To Such Obligations [Dkt. 135].

                 iii.   Second Interim Order: Second Interim Order Granting First Day
                        Motion For An Order (I) Authorizing The Debtor To Pay And Honor
                        Certain Pre-Petition Wages, Benefits, And Other Compensation
                        Obligations; And (II) Authorizing Financial Institutions To Honor
                        And Process Checks And Transfers Related To Such Obligations
                        [Dkt. 212].

                 iv.    Proposed Final Order: Notice Of Revised Proposed Final Order
                        Authorizing The Debtor To Pay Wages And Other Compensation
                        Obligations [Dkt. 263].

              c. Objections (Resolved):

                 i.     Sexual Abuse Survivors Committee Objection: Objection Of The
                        Additional Tort Claimants Committee Of Sexual Abuse Survivors To
                        Debtor’s First Day Motion For An Order (I) Authorizing The Debtor
                        To Pay And Honor Certain Pre-Petition Wages, Benefits, And Other
                        Compensation Obligations; And (II) Authorizing Financial
                        Institutions To Honor And Process Checks And Transfers Related To
                        Such Obligations And The Supplement Thereto [Dkt. 140].



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                 ii.    Indiana Attorney General Objection: Objection Of Indiana
                        Attorney General Curtis T. Hill To Debtor’s Supplement To First
                        Day Motion For An Order (I) Authorizing The Debtor To Pay And
                        Honor Certain Pre-Petition Wages, Benefits, And Other
                        Compensation Obligations; And (II) Authorizing Financial
                        Institutions To Honor And Process Checks And Transfers Related To
                        Such Obligations [Dkt. 158].

              d. Replies:

                 i.     Debtor’s Reply To The Sexual Abuse Survivors Committee
                        Objection: Debtor’s Reply In Support Of Its First Day Motion For
                        An Order (I) Authorizing The Debtor To Pay And Honor Certain
                        Prepetition Wages, Benefits, And Other Compensation Obligations;
                        And (II) Authorizing Financial Institutions To Honor And Process
                        Checks And Transfers Related To Such Obligations [Dkt. 147].

                 ii.    Withdrawal Of Supplement: Notice Of Withdrawal Of Supplement
                        To First Day Wages Motion [Dkt. 224].

              e. Estimated Time Required: 5 minutes.

      2.   Cash Management Motion & Supplement: First Day Motion For (I) Approval
           Of The Debtor’s Continued Use Of Cash Management System; (II) Authorization
           To Use Pre-Petition Bank Accounts, And (III) Waiving The Requirements Of 11
           U.S.C. § 345(b) [Dkt. 12].

              a. Status: This matter is going forward.

              b. Related Documents:

                 i.     First Interim Order: Interim Order Granting First Day Motion
                        For (I) Approval Of The Debtor’s Continued Use Of Cash
                        Management System; (II) Authorization To Use Pre-Petition Bank
                        Accounts; And (III) Waiving The Requirements Of 11 U.S.C.
                        § 345(b) [Dkt. 67].

                 ii.    Proposed Final Order: Notice Of Proposed Final Order Approving
                        Debtor’s Continued Use Of Cash Management System [Dkt. 162].

                 iii.   Second Interim Order: Second Interim Order Granting First Day
                        Motion For (I) Approval Of The Debtor’s Continued Use Of Cash
                        Management System; (II) Authorization To Use Pre-Petition Bank
                        Accounts; And (III) Waiving The Requirements Of 11 U.S.C.
                        § 345(b) [Dkt. 211].

                 iv.    Supplement: Supplement To First Day Motion For (I) Approval Of
                        The Debtor’s Continued Use Of Cash Management System;


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                        (II) Authorization To Use Pre-Petition Bank Accounts; And (III)
                        Waiving The Requirements Of 11 U.S.C. § 345(b) [Dkt. 225].

                 v.     Proposed Final Order: Notice Of Revised Proposed Final Order
                        Approving Debtor’s Continued Use Of Cash Management System
                        [Dkt. 262].

              c. Objections (Resolved):

                 i.     Sexual Abuse Survivors Objection: Objection Of Sexual Abuse
                        Survivors To First Day Motion For Approval Of The Debtor’s
                        Continued Use Of Cash Management System; (II) Authorization To
                        Use Pre-Petition Bank Accounts; And (III) Waiving The
                        Requirements Of 11 U.S.C. § 345(b) [Dkt. 49].

                 ii.    United States Trustee Objection: United States Trustee’s
                        Objection To Debtor’s Motion For (I) Approval Of The Debtor’s
                        Continued Use Of Cash Management System; (II) Authorizing Use
                        Of Pre-Petition Bank Accounts, And (III) Waiving The Requirements
                        Of 11 U.S.C. § 345(b) [Dkt. 53].

              d. Estimated Time Required: 5 minutes.

C.    CONTESTED MATTERS

      1.   Spencer Stuart Assumption Motion: Debtor’s Motion For Order Authorizing
           The Debtor To Assume Executory Contract With Spencer Stuart Pursuant To 11
           U.S.C. § 365 [Dkt. 223].

              a. Status: This matter is going forward.

              b. Related Documents:

                 i.     Supplement: Supplement To Debtor’s Motion For Order
                        Authorizing The Debtor To Assume Executory Contract With
                        Spencer Stuart Pursuant To 11 U.S.C. § 365 [Dkt. 272].

              c. Objections:

                 i.     Sexual Abuse Survivors Committee Objection: Objection Of The
                        Additional Tort Claimants Committee Of Sexual Abuse Survivors To
                        Debtor’s Motion For Order Authorizing The Debtor To Assume
                        Executory Contract With Spencer Stuart Pursuant To 11 U.S.C.
                        § 365 [Dkt. 259].




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              d. Replies:

                 i.     Debtor’s Reply: Reply In Support Of Debtor’s Motion For Order
                        Authorizing The Debtor To Assume Executory Contract With
                        Spencer Stuart Pursuant To 11 U.S.C. § 365 [Dkt. 267].

              e. Estimated Time Required: 15 minutes.

      2.   APCO Worldwide LLC Employment Application: Debtor’s Application For
           Order Authorizing The Debtor To Employ APCO Worldwide LLC As Ordinary
           Course Communications Advisor Pursuant To 11 U.S.C. § 327(b), Effective As Of
           The Petition Date [Dkt. 228].

              a. Status: This matter is going forward.

              b. Objections:

                 i.     Sexual Abuse Survivors Committee Objection: Objection Of The
                        Additional Tort Claimants Committee Of Sexual Abuse Survivors To
                        Debtor’s Application For Order Authorizing The Debtor To Employ
                        APCO Worldwide LLC As Ordinary Course Communications
                        Advisor Pursuant To 11 U.S.C. § 327(b), Effective As Of The Petition
                        Date [Dkt. 255].

              c. Replies:

                 i.     Debtor’s Reply: Reply In Support Of Debtor’s Application For
                        Order Authorizing The Debtor To Employ APCO Worldwide LLC As
                        Ordinary Course Communications Advisor Pursuant To 11 U.S.C.
                        § 327(b), Effective As Of The Petition Date [Dkt. 268].

              d. Estimated Time Required: 15 minutes.

      3.   Bar Date Motion: Debtor’s Motion For Order Establishing Deadlines For Filing
           Proofs Of Claim And Approving Form And Manner Of Notice Thereof [Dkt. 230].

              a. Status: This matter is going forward.

              b. Objections:

                 i.     Kelly Doe Objection: Objection To Debtor’s Motion For Order
                        Establishing Deadlines For Filing Proofs Of Claim And Approving
                        Form And Manner Of Notice Thereof [Dkt. 257].

                 ii.    Sexual Abuse Survivors Committee Objection: Objection Of The
                        Additional Tort Claimants Committee Of Sexual Abuse Survivors To
                        Debtor’s Motion For Order Establishing Deadlines For Filing




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                            Proofs Of Claim And Approving Form And Manner Of Notice
                            Thereof [Dkt. 261].

                     iii.   Indiana Attorney General Objection: Limited Objection Of
                            Indiana Attorney General Curtis T. Hill To Debtor’s Motion For
                            Oder Establishing Deadlines For Filing Proofs Of Claim And
                            Approving Form And Manner Of Notice Thereof [Dkt. 269].

                 c. Replies:

                     i.     Debtor’s Reply: Omnibus Reply In Support Of Debtor’s Motion For
                            Order Establishing Deadlines For Filing Proofs Of Claim And
                            Approving Form And Manner Of Notice Thereof [Dkt. 270].

                 d. Estimated Time Required: 30 minutes.



Dated: February 19, 2019                        Respectfully submitted,

                                                JENNER & BLOCK LLP

                                                By: /s/ Catherine Steege

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